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     Bruce Locke (#177787)

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 4   916-569-0667
 5   Attorneys for Sharice Williams
 6                                       UNITED STATES DISTRICT COURT
 7                               EASTERN DISTRICT OF CALIFORNIA
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10          United States,
                                                             No. 2:15-CR-185 TLN
11                             Plaintiff,

12                  v.                               STIPULATION AND ORDER TO

13          Sharice Williams, et. al,.               CONTINUE THE STATUS CONFERENCE

14                             Defendant.            TO NOVEMBER 19, 2015

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20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the status conference presently set for October 1, 2015

23   at 9:30 a.m., should be continued to November 19, 2015 at 9:30 a.m., and that time under the

24   Speedy Trial Act should be excluded from October 1, 2015 through November 19, 2015.

25          The reason for the continuance is that the case is relatively new and the defense needs
     additional time to conduct investigation and review the discovery. The discovery includes several
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     video tapes. The exclusion of time is also necessary to ensure continuity of counsel. Accordingly,
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     the time between October 1, 2015 and November 19, 2015 should be excluded from the Speedy
     Trial calculation pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4

 2   for defense preparation. The parties stipulate that the ends of justice served by granting this

 3   continuance outweigh the best interests of the public and the defendants in a speedy trial. 18

 4   U.S.C. §3161(h)(7)(A). Mr. Yang has authorized Mr. Locke to sign this pleading for him.

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            Date: September 29, 2015                             /s/ Bruce Locke
 6                                                              BRUCE LOCKE
                                                                Attorney for Sharice Williams
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 8

 9          Date: September 29, 2015                             /s/ Bruce Locke
                                                                For ROGER YANG
10                                                              Assistant United States Attorney

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            IT IS SO ORDERED.
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14          Dated: September 29, 2015

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17                                                           Troy L. Nunley
                                                             United States District Judge
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